138 F.3d 1225
    Kenneth Lee BAKER;  Steven Robert Baker, by next friend,Melissa Thomas, Appellees,v.GENERAL MOTORS CORPORATION, Appellant,The Product Liability Advisory Council, Inc., Amicus Curiae.
    No. 95-1604.
    United States Court of Appeals,Eighth Circuit
    March 10, 1998.
    ORDER
    
      1
      In this products liability action, we reversed an eleven-million-dollar jury verdict against General Motors Corporation.  See Baker v. General Motors Corp., 86 F.3d 811 (8th Cir.1996).  Relevant facts are set forth in that opinion.  We found:  1) that the district court had imposed too harsh a sanction for discovery abuses;  2) that the punitive damages award was defective;  and 3) that the full faith and credit clause of the Constitution was violated when the district court allowed Ronald Elwell to testify in contravention of an injunction issued by a Michigan court.  See id. at 818, 820.   The decision was appealed to the United States Supreme Court.  The question presented to the Supreme Court was whether this court erred "in holding that petitioners, who were not parties to state proceeding or in privity with any party, could be precluded from obtaining witness's testimony on basis of obligation to give full faith and credit to state court judgments."  Baker v. General Motors Corp., --- U.S. ----, 117 S.Ct. 1310, 137 L.Ed.2d 474 (1997).  The Supreme Court reversed this court's judgment on that issue.  See Baker v. General Motors Corp., --- U.S. ----, 118 S.Ct. 657, 139 L.Ed.2d 580 (1998).
    
    
      2
      Accordingly, it is ordered that those portions of this court's order dated June 14, 1996, that deal with the full faith and credit clause and Ronald Elwell's testimony are hereby vacated, the mandate issued by this court is recalled and this matter is remanded to the district court for a new trial consistent with our earlier order, see Baker, 86 F.3d at 816-820, as modified by the Supreme Court, Baker, --- U.S. at ---- - ----, 118 S.Ct. at 666-668.
    
    